IN RE:

LUIS HOMMY RODRIGUEZ VAZQUEZ

RUTH

DEBTOR(S)

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF PUERTO RICO
CASE NO. 20-03819/MCF
JACQUELINE CRUZ MERCED
CHAPTER 13

ADVERSARY 21-00024/MCF

 

LUIS HOMMY RODRIGUEZ VAZQUEZ

RUTH

PLAINTIFF(S)

USDA

ALEJANDRO OLIVERAS RIVERA, ESQ
AS CHAPTER 13 TRUSTEE

DEFENDANT(S)

JACQUELINE CRUZ MERCED

RURAL HOUSING SERVICE

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CERTIFICATE OF SERVICE
RE: NOTICE TO DEFENDANTS OF COMPLAINT AND SUMMONS

TO THE HONORABLE COURT:

March

by the

| ROBERTO FIGUEROA CARRASQUILLO, attorney for plaintiffs, certify that on
9, 2021, a true copy of the adversary cover sheet, complaint and summons, issued
Court in the above captioned proceeding, were mailed to Defendant as follows:

USDA Rural Development, United States Department of Agriculture, Rural Housing
Service, c/o Luis R Garcia, Acting State Director, Edif 654 Plaza Suite 601, 654
Munoz Rivera Avenue, San Juan PR 00918-4129, certified mail
#70161370000074986012

United States Attorney District of Puerto Rico, W Stephen Muldrow, Esq., Room 150
Federal Bldg, San Juan PR 00917, certified mail #70161370000074984971
Page -2-
Certificate of Service
Adversary Proceeding 21-00024/MCF

Attorney General of the United States, Robert M. Monty Wilkinson, Esq., 950
Pennsylvania Ave NW, Washigton DC 20530-0001, certified mail
#70161370000074984988

United States of America, United States Department of Agriculture, Rural Housing
Service, Centralized Service Center, PO Box 66879, St Louis MO 63166, certified
mail #70171070000105981193

Attached is copy of delivery receipt for each party that was noticed as herein stated.

CERTIFICATE OF SERVICE: The undersigned attorney hereby certifies that on this
same date a copy of this certificate of service has been filed with the Clerk of the Court
using the CM/ECF filing system which will send notice of same to the CM/ECF participants.
| also certify that a copy of this certificate of service was served by regular mail to
plaintiff/Debtors Luis Hommy Rodriguez Vazquez and Ruth Jacqueline Cruz Merced, in the

above captioned adversary proceeding.

RESPECTFULLY SUBMITTED.

In San Juan, Puerto Rico, this 10'" day of March, 2021.

/s/ Roberto Fiqgueroa-Carrasquillo

RFIGUEROA CARRASQUILLO LAW OFFICE PSC
USDC 203614

ATTORNEY FOR PLANTIFFS

PO BOX 186

CAGUAS, PR 00726

TEL NO. (787) 744-7699/(787) 963-7699

EMAIL rfc@rfigueroalaw.com
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